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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                             CASE NO. 3:08cr136 LAC

DAVID W. WEBB

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on July 20, 2009
Motion/Pleadings: IN CAMERA GOVERNMENT’S MOTION IN LIMINE
Filed by GOVERNMENT                    on 7/16/09 Doc.# 79

RESPONSES:
                                               on                     Doc.#
                                               on                     Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration     of   the    foregoing,      it   is   ORDERED    this   28 th   day   of
September, 2009, that:
(a) The relief requested is GRANTED.
(b) See record of proceedings.




                                                               s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge



Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
